                        Case No. 25-1345



            UNITED STATES COURT OF APPEALS
                FOR THE FOURTH CIRCUIT



            KILMAR ARMANDO ABREGO GARCIA, ET AL.,
                     Plaintiffs-Appellees,

                                v.

                      KRISTI NOEM, ET AL.,
                     Defendants-Appellants.


              On Appeal from the U.S. District Court
                   for the District of Maryland
                  Case No. 8:25-CV-00951-PX

  AMICI CURIAE BRIEF OF PROFESSORS ERWIN CHEMERINSKY,
           MARTH MINOW, AND LAURENCE TRIBE
 IN SUPPORT OF PLAINTIFFS-APPELLEES AND IN OPPOSITION TO
DEFENDANTS-APPELLANTS’ REQUEST FOR AN EMERGENCY STAY

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                       STATEMENT OF AMICI CURIAE

      Amicus Erwin Chemerinsky is the Dean of the University of California,

Berkeley, School of Law, where he also serves as the Jesse H. Choper Distinguished

Professor of Law. Amicus Martha Minow is the 300th Anniversary University

Professor at Harvard University. She has taught at Harvard Law School since 1981

and served as dean for eight years. . Amicus Laurence Tribe is the Carl M. Loeb

University Professor of Constitutional Law Emeritus at Harvard University, and has

taught at Harvard Law School since 1968. Amici are world-renowned scholars of

constitutional law who collectively have authored scores of journal articles and

books addressing constitutional issues including separation of powers, the limits of

Executive Branch power, and the role of the Judicial Branch.

      Amici have an interest in this case because, as scholars who have dedicated

their careers to constitutional law, they have a special interest in ensuring that the

balance of powers between the Executive, Legislative, and Judicial branches accords

with the requirements and purposes of the Constitution. In this case, the Executive

Branch is effectively asserting absolute, unreviewable authority to remove an

individual from the United States, even where the removal was in conceded violation

of a court order . If this court were to adopt the government’s position here, it would

dramatically expand the Executive Branch’s power at the expense of fundamental




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individual liberties, and diminish both the Legislative Branch’s and the Judicial

Branch’s power in unprecedented and dangerous ways.

                                   ARGUMENT

      At bottom, the government’s argument is that, once the Executive Branch has

removed an individual from the United States and arranged for that individual to be

held in a foreign prison, an Article III court is constitutionally disempowered from

ordering that the individual be returned to the United States—regardless of whether

the Executive Branch’s removal of the individual (i) lacked any statutory basis,

(ii) failed to afford the individual any due process, and (iii) flouted a court order,

issued pursuant to a congressional statute, barring the removal.

      There is no logical stopping point to the government’s dangerous argument.

Under its logic, so long as the removed individual is confined in a foreign prison,

the President’s unfettered Article II prerogative to engage in “act[s] of foreign

relations,” Gov’t Br., at 2, bars an Article III court from intervening. If the

government’s argument were correct, the Executive Branch would possess a

shuddering degree of power—power that the President could wield in extreme and

extraordinary ways, including against American citizens that the President simply

disfavors. Not surprisingly, amici are not aware of any precedent or recognized

constitutional principle supporting the government’s argument.




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      There is no question—and could be no question—that the federal courts have

jurisdiction over the U.S. officials who removed an individual from the United States

and arranged for that individual to be held in a foreign prison, and who have

continuing authority and power to correct their mistakes in such removal and

rendition. To ensure the balance of powers that the Constitution envisions and that

is necessary to protect individual liberty, it is vital that the court reject the

government’s argument here.

                                 CONCLUSION

      For the reasons stated above, as well as the reasons explained in the brief

submitted by Kilmar Armando Abrego Garcia, we urge the court both to deny the

government’s motion for a stay and to affirm the district court’s order below.

                                             Respectfully submitted,


Dated: April 6, 2025                            /s/ Erwin Chemerinsky
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